

People v Gessner (2022 NY Slip Op 07413)





People v Gessner


2022 NY Slip Op 07413


Decided on December 23, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 23, 2022

PRESENT: WHALEN, P.J., SMITH, LINDLEY, NEMOYER, AND CURRAN, JJ. (Filed Dec. 23, 2022.) 


MOTION NO. (1268/17) KA 17-00637.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vERIC GESSNER, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








